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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-61596-CIV-COHN/BSS

LUCY MAYORGA, ADRIANA MORAVCIK, MILAN MORAVCIK

 

 

 

 

 

 

 

 

 

 

Plaintiffs
vs. FILED by __ D.C.
AIRBUS S.A.S AND AIRBUS INDUSTRIE G.I.E FES 25 203
Defendants ;
STEVEN M. LARIMORE
CLERK U. S. DIST. CT.
S. D. of FLA. — FT LAUD.
MAGISTRATE JUDGE:_BARRY S. SELTZER
DEPUTY CLERK: AARON TIJERINO
COURT REPORTER: D.a.R. /4: OS: 33 Bss- 10 = Il
DATE: 02/25/10 TIME: 2:00 P.M. TO 2:30 P.M.

TYPE OF HEARING: CIVIL SCHEDULING CONFERENCES

COUNSEL: THEODORE J. LEOPOLD, ALISA BRODKOWITZ, LESLIE BRUECKNER, MELANIE
HIRSCH, AND MICHAEL WITHEY FOR PLAINTIFFS
ALVIN F. LINDSAY, III CHRISTOPHER M. ODELL, JOSHUA J. NEWCOMER, THAD
T. DAMERIS AND TREVOR R. JEFFERIES FOR DEFENDANTS

REMARKS : OQ

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